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 8                                   UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                      No. 2:17-cr-00155 MCE
12                      Plaintiff,
13          v.                                      ORDER TO SHOW CAUSE
14   PABLO VARGAS,
15                      Defendant.
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18          On September 20, 2017, the undersigned ordered counsel for defendant Vargas to post the
19   previously-ordered property bond on or before September 27, 2017, or face monetary sanctions.
20   The property bond has not been posted. Accordingly, defense counsel Lance Archer is HEREBY
21   ORDERED to personally appear on Friday, October 6, 2017 at 2:00 p.m. in Courtroom No. 24,
22   before the Hon. Carolyn K. Delaney, to SHOW CAUSE why he should not be sanctioned for
23   failure to follow court orders.
24   DATED: October 4, 2017
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